                      UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           ASHEVILLE DIVISION
                                1:08CR112

UNITED STATES OF AMERICA            )
                                    )
            v.                      )                   ORDER
                                    )
HARRY LEE CARPER, et. al.,          )
                                    )
                  Defendant.        )
____________________________________)

        This matter is before the Court on the Government’s “Motion to Unseal Indictment”

(document # 18) in the above case, filed on October 30, 2008. The Motion is hereby GRANTED.

       SO ORDERED.



                                            Signed: November 6, 2008




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